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    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEW YORK


    CITIBANK, N.A.,

                                      Plaintiff,

                   v.

    BRIGADE CAPITAL MANAGEMENT, LP,
    ALLSTATE INVESTMENT MANAGEMENT                                            No. 20 Civ. 06539 (JMF)
    COMPANY, BARDIN HILL LOAN MANAGEMENT
                                                                              AMENDED COMPLAINT
    LLC, GREYWOLF LOAN MANAGEMENT LP, HPS
    INVESTMENT PARTNERS LLC, MEDALIST
    PARTNERS CORPORATE FINANCE LLC, NEW
    GENERATION ADVISORS LLC, SYMPHONY ASSET
    MANAGEMENT LLC, TALL TREE INVESTMENT
    MANAGEMENT LLC, ZAIS GROUP LLC,

                                      Defendant.



         Plaintiff Citibank, N. A. (“Citibank”), by and through its attorneys, respectfully submits

this amended complaint1 against the defendants identified in paragraphs 8-17 below and alleges as

follows:

                                      PRELIMINARY STATEMENT

         1.       On August 11, 2020, an operational mistake caused Citibank to transfer

approximately $900 million of its own money to parties that were not entitled to it. When Citibank

discovered the mistake, it promptly asked the recipients to return its money. Defendants, however,

have unlawfully attempted to capitalize on the mistaken overpayment. They have refused to return

their share and instead converted approximately $501 million for their own use. Defendants’


1
 Citibank submits this amended complaint against all defendants in compliance with the Court’s December 8, 2020
Order directing consolidation and the inclusion of additional jurisdictional allegations. Dkt No. 191. The changes
submitted are intended only to address the specific issues identified by the Court, recognizing that no leave has been
granted to make any additional revisions.

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actions are not just unconscionable; they threaten the integrity of the administrative agency

function and the trust in the global banking system.

       2.      Citibank’s transfer was intended to pass through an interest payment from Revlon,

on a loan for which Citibank acts as an administrative agent. Without justification, defendants have

taken the baseless position that Citibank’s overpayment, more than 100 times the amount of the

intended transfer, served to pay off Revlon’s entire principal balance as well—a balance that was

not due for another three years, that Revlon did not have available, and that today reportedly trades

at 30 cents on the dollar.

       3.      Defendants have refused to return Citibank’s money despite crystal-clear evidence

that the payments were made in error. Among other things, the payments were accompanied by

calculation statements that showed the correct (and substantially smaller) amount as the “Total

Due.” Citibank advised defendants upon making the overpayment that it was, in fact, a mistake

and that the funds needed to be returned. The Credit Agreement itself, which governs the payment

schedules under the Lending Facility, makes clear that no such payment was then due, and that

any prepayment would have required three-days’ advance written notice. Revlon, too, stated

publicly that it had made no principal payment on its debt. And the day after Citibank’s payment,

UMB Bank, purportedly as administrative agent for Brigade and other lenders, sued Revlon,

claimed it had defaulted on its debt, and demanded in an acceleration notice that it immediately

pay the entire balance—thereby conceding that Citibank’s overpayment was not intended or

understood to discharge Revlon’s obligation, and trying to retroactively fabricate a “due and

owing” obligation. Yet defendants continue to hold the funds unlawfully despite multiple requests

from Citibank to return them.




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       4.      Defendants have not offered a reasonable explanation for their unlawful retention

of Citibank’s money. For example, in response to Citibank’s demand, Brigade asserted that “[i]t

is not at all clear that the funds were sent as a result of ‘clerical mistake’”—a self-serving statement

that is irreconcilable with the notices of payment, the acceleration notice, and the very rationale

underlying the UMB complaint: that Revlon lacks sufficient funds to repay its debt. Defendants

have manufactured a story that defies belief: that the payment was a deliberate prepayment of the

loan’s entire principal balance, even though the governing Credit Agreement would not even have

allowed such a payment without advance written notice.

       5.      Defendants have no claim to Citibank’s money. They were not expecting Citibank’s

money. They should have known that a surprise repayment of principal could not be made under

the governing Credit Agreement. And they were well aware that virtually no company, let alone a

distressed retail and consumer company such as Revlon, would ever make such a substantial

prepayment while dealing with the significant financial consequences caused by the ongoing

pandemic.

       6.       Defendants’ refusal to return money to which they are not entitled is unlawful.

Under equitable principles as well as the doctrine of conversion, this Court should require

defendants to return Citibank’s money immediately. Any other outcome would threaten the

stability of the banking system and the relationships between administrative agents and lenders, as

it would reward bad actors that try to capitalize on operational mistakes. The global economy

depends on financial institutions being able to efficiently make enormous numbers of payments

every day. While the vast majority of these payments are seamless, the velocity and complexity of

such transactions means that human and technological errors do occur at times. The legal system




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needs to treat these as what they obviously are—mistakes—rather than as opportunities for

unscrupulous actors to seize massive windfalls.

                                            PARTIES

       7.      Citibank, N.A. is a national bank organized under the laws of the United States and

located in Sioux Falls, South Dakota.

       8.      Upon information and belief, Allstate Investment Management Company

(“Allstate”) is a corporation organized under the laws of Delaware. Upon information and belief,

the direct and indirect members of Allstate are citizens of Delaware.

       9.      Upon information and belief, Bardin Hill Loan Management LLC (“Bardin Hill”)

is a limited partnership organized under the laws of Delaware and headquartered in New York.

       10.     Upon information and belief, Brigade Capital Management, LP (“Brigade”) is a

limited partnership organized under the laws of Delaware and headquartered in New York. Upon

information and belief, the direct and indirect members of Brigade are citizens of New York, New

Jersey, Connecticut, Colorado, South Carolina, Delaware, and Virginia.

       11.     Upon information and belief, Greywolf Loan Management LP (“Greywolf”) is a

limited partnership organized under the laws of Delaware. Upon information and belief, the direct

and indirect members of Greywolf are citizens of Connecticut, New York, California, the Cayman

Islands, and other foreign states.

       12.     Upon information and belief, HPS Investment Partners LLC (“HPS”) is a limited

liability company organized under the laws of Delaware and headquartered in New York.

       13.     Upon information and belief, Medalist Partners Corporate Finance LLC

(“Medalist”) is a limited liability company organized under the laws of Delaware.




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       14.     Upon information and belief, New Generation Advisors LLC (“New Generation”)

is a domestic limited liability company organized under the laws of Massachusetts. Upon

information and belief, the direct and indirect members of New Generation are citizens of Virginia

and Massachusetts.

       15.     Upon information and belief, Symphony Asset Management LLC (“Symphony”)

is a limited liability company organized under the laws of California. Upon information and belief,

the direct and indirect members of Symphony are citizens of New York.

       16.     Upon information and belief, Tall Tree Investment Management LLC (“Tall Tree”)

is a limited liability company organized under the laws of Delaware. Upon information and belief,

the direct and indirect members of Tall Tree are citizens of Illinois, North Carolina, New Jersey,

China, and Germany.

       17.     Upon information and belief, ZAIS Group LLC (“ZAIS”) is a domestic limited

liability company organized under the laws of Delaware. Upon information and belief, the direct

and indirect members of ZAIS are citizens of Delaware.

                                JURISDICTION AND VENUE

       18.     This Court continues to have subject-matter jurisdiction over the claims against

Brigade—the original named defendant in this action—as well as Allstate, Greywolf, New

Generation, Symphony, Tall Tree, and ZAIS pursuant to 28 U.S.C. § 1332(a)(1) because the

amount in controversy exceeds $75,000 and the parties are citizens of different states from

Citibank, which is a citizen of South Dakota.

       19.     The parties are currently investigating whether there is diversity with respect to

three of the defendants: Bardin Hill, HPS, and Medalist. Citibank will further amend the complaint

if diversity is confirmed.



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        20.    In any case, this Court has subject-matter jurisdiction over the claims against all

defendants pursuant to the Edge Act, 12 U.S.C. § 632, because Citibank is a national banking

association and this action is a civil suit at common law or in equity based on transactions involving

Citibank’s international banking and/or foreign financial operations. This suit arises from

Citibank’s processing of interest payments as part of its role as administrative agent on a $1.8

billion syndicated loan facility, pursuant to which Citibank routinely sends wire transfers to bank

accounts in foreign countries and held by foreign entities. For example, payments directed to the

defendants’ funds were wired to bank accounts located in Luxembourg and Australia for funds

managed by defendants HPS and Brigade, respectively. These international wires were both

directed and transferred overseas.

        21.    Additionally, this Court has supplemental subject-matter jurisdiction over the

claims set forth in this Amended Complaint pursuant to 28 U.S.C. § 1367 because they arise out

of the same transaction or occurrences as the claims initially asserted against Brigade in this action.

        22.    This Court has personal jurisdiction over the defendants because defendants

regularly conduct and transact business in the State of New York.

        23.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1) because the

defendants reside in this District. Venue is also proper in this district pursuant to 28 U.S.C.

§ 1391(b)(2) because this is a judicial district in which a substantial part of the events or omissions

giving rise to the claim occurred, and a substantial part of property that is the subject of the action

is situated.




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                                   STATEMENT OF FACTS

I.     Revlon’s 2016 Loan

       24.     In 2016, Revlon acquired Elizabeth Arden, Inc. The deal was partially facilitated

by a seven-year, $1.8-billion loan. Defendants currently hold a portion of the loan. The Credit

Agreement governs the term loans held by defendants.

       25.     Citibank serves as the administrative agent and collateral agent for the loan. One of

Citibank’s many duties is to collect payments from Revlon to remit to the lenders under the Credit

Agreement. Another is to maintain a register listing the amount of each loan and payment. The

register acts as the definitive record of amounts owed and received. Under the Credit Agreement,

the register is deemed “presumptively correct absent demonstrable error,” and any error “shall not

in any manner affect the obligation of [Revlon] to repay (with applicable interest) the Loans made

to [Revlon] in accordance with the terms of th[e] Agreement.” § 2.8(c)–(d).

       26.     Revlon is responsible for making periodic interest payments under the Credit

Agreement. The agreement also permits Revlon to pay principal ahead of schedule but only if

certain requirements are met. Under Section 2.11(a) of the agreement, any prepayment by Revlon

of principal on Eurocurrency loans, like those at issue here, must be preceded by a detailed written

notice three business days in advance.

II.    The August 11 Transfer

       27.     On August 11, 2020, several months of accrued interest came due under the Credit

Agreement. The interest payment was to be processed by Citibank in its capacity as administrative

agent. No other amount was due at the time, and Revlon transferred no additional funds to

Citibank.




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       28.     The interest payment was processed by Citibank on August 11, 2020. Due to issues

with the loan-processing system, the payment to each lender was on average more than 100 times

the interest that was actually due. Defendants were lenders that received an overpayment.

       29.     Around 5:30 p.m. on August 11, Citibank sent defendants notices of payment for

each of the funds that defendants manage that held portions of the Revlon loan. The top of the

notices identified the payment as a “Libor Rate Interim Interest Payment.” (Emphasis added.)

The notices then provided that “[i]nterim interest is due as per the detailed calculation below.”

The calculations showed the principal of the loan held by each fund; the interest rate; the period

of interest being paid; and the interest due. These notices expressly referenced the intended amount

of the payment, which was far smaller than the actual payment. For example, the notice sent to

Brigade Opportunistic Credit LBG Fund LTD provided as follows (Exhibit A):




       30.     Beneath this was a row marked “Total Due,” again stating the correct intended

amount:




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       31.     The notices went on to state that “[w]e will credit your account representing the

above Interim Interest.” Fields captioned “Total Due” and “Credit Amount” yet again stated the

intended payment amount. The above notice, for example, included the following section:




       32.     In short, this notice unambiguously informed Brigade that Citibank would be

sending Brigade Opportunistic Credit LBG Fund LTD an interest payment of $152,424.25. But

instead of sending the amount due, Citibank sent many multiples of that amount to Brigade—over

$17 million in this case, more than 115 times the amount of “Interim Interest” specified in the

notice. And the overpayment was made with Citibank’s funds. As reflected in the below Payment

Transaction, which was paired with the above $152,424.25 interest notice, the mistake was

obvious: the transferred amounts did not match the “Total Due” for the “Interim Interest” stated in

the notices.




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       33.     Defendants ultimately received 126 notices promising credit amounts totaling

$4,774,088.95. And they received wire transfers totaling $557,558,375.74—$553,784,285.85

more than they were due.

III.   Defendants’ Conversion of Citibank’s Funds

       34.     Clearly, Citibank had made a mistake. Citibank did not intend to transfer more

money than stated in the payment notices, let alone with its own funds. That was obvious from the

language of the notices. But beyond that, a prepayment like the one that defendants assert occurred

was not even permissible under the Credit Agreement. The balance of the loan is not due for

another three years, and a prepayment of any amount is only permitted with “irrevocable written

notice” from Revlon three business days in advance. § 2.11(a). No prepayment notice was issued,

because no prepayment was made. Nor was there a payoff letter, which is market standard practice

when payment of the full outstanding balance of a loan is intended. Furthermore, no principal

payment was funded by Revlon. And Citibank never modified the register to reflect a full or partial

discharge of principal in connection with the overpayment.

       35.     As creditors woke up to find thousands if not millions more than expected in their

bank accounts, the overpayment was covered widely by news outlets around the world. The Wall

Street Journal reported that “Citigroup Pays Revlon Lenders Nearly $900 Million by Mistake.”

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Bloomberg and Reuters made similar reports. Revlon, for its part, publicly stated that “Revlon did

not pay down the loan or any part of the loan.” And all of the articles made clear that the payment

was mistaken.

       36.      On both August 12 and August 13, 2020, Citibank sent notices to lenders asking

for the funds to be returned, less the correct amount of interim interest reflected by the credit

amount in the payment notices. Each notice advised that “[a]n additional amount was included in

your interest payment in error and you were overpaid. Please return the amount listed below as

soon as possible.” And each notice followed with the specific amount owed Citibank. Many of

Revlon’s lenders, knowing they had received a mistaken overpayment, promptly complied and

returned the funds.

       37.      Also on August 12, several other lenders—including, upon information and belief,

defendants—took three actions that showed that they, like everyone else, understood that the

amount of the payment was a clear mistake.

       38.      First, they purported to serve Revlon with a notice of an Event of Default under the

2016 loan. There would have been no reason to serve a notice of an Event of Default if the loan

had just been paid in full.

       39.      Second, acting through UMB Bank, which claims to have been appointed successor

administrative agent, they purported to accelerate the loan’s principal. That acceleration notice

was a clear admission that the lenders did not believe that the principal was repaid (or intended to

be repaid) on August 11; if it had been, there would have been nothing to accelerate. Instead, the

notice was a belated attempt to give defendants a pretext for holding on to the overpayment.

       40.      Third, UMB Bank, again claiming to be the administrative agent, filed a 117-page

complaint accusing Revlon of improperly amending the Credit Agreement to avoid paying the



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2016 lenders. See Complaint, UMB Bank v. Revlon, No. 20-cv-06352, Dkt. 1 (S.D.N.Y. Aug. 12,

2020). The complaint reconfirmed that the lenders were under no illusion that the loan had been

fully repaid on August 11. Further, it alleged that Revlon was unable to repay the loan, because it

was “insolvent and facing a severe liquidity crisis.”

       41.     But rather than return the excess payment, defendants claimed it for themselves and

their investors. In an e-mail to Citibank, Brigade gave the following rationale for refusing to return

the funds:

       It is not at all clear that the funds were sent as a result of “clerical mistake”.
       Moreover, whether sent in error or not, the funds were sent for the credit and
       account of Revlon such that the Credit Agreement provides for setoff. Additionally,
       the law may provide for a discharge for value of the loans, upon receipt of the funds,
       regardless of any error.

Other defendants provided similar instructions.

       42.     The response is largely incomprehensible. It is also clear that the payment did not

“discharge” any debt—defendants were on notice that the payment was a mistake as soon as it

received it, and no debt was ever “discharged” by the administrative agent, because no repayment

of principal was ever intended. But in any event, this response makes clear that defendants have

no intention of returning Citibank’s money.

       43.     Defendants are currently holding approximately $501 million of Citibank’s money

to which they have no right, and know they have no right. That money must be returned

immediately.

                                      CAUSES OF ACTION

                                   FIRST CAUSE OF ACTION
                                       Unjust Enrichment

       44.     Citibank repeats, realleges, and incorporates by reference the foregoing allegations

as though fully set forth in this paragraph.


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         45.   Defendants were enriched at the direct expense of Citibank, by mistakenly

receiving $501,286,786.09 of Citibank’s money to which it was not entitled.

         46.   Equity and good conscience militate against permitting defendants to retain the

misappropriated funds.

                                  SECOND CAUSE OF ACTION
                                         Conversion

         47.   Citibank repeats, realleges, and incorporates by reference the foregoing allegations

as though fully set forth in this paragraph.

         48.   Defendants have and are continuing to exercise unauthorized dominion over

specifically identifiable assets of Citibank, namely the $501,286,786.09 that was mistakenly

transferred on August 11, 2020.

         49.   Despite Citibank’s demands that defendants return the assets in question,

defendants have refused to do so.

                                  THIRD CAUSE OF ACTION
                                   Money Had And Received

         50.   Citibank repeats, realleges, and incorporates by reference the foregoing allegations

as though fully set forth in this paragraph.

         51.   On August 11, 2020, defendants mistakenly received $501,286,786.09 belonging

to Citibank, and to which defendants had no claim.

         52.   Defendants benefitted, and continue to benefit, from the receipt of Citibank’s

money.

         53.   Under principles of equity and good conscience, defendants should not be permitted

to keep Citibank’s money.




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                                 FOURTH CAUSE OF ACTION
                                    Payment By Mistake

       54.     Citibank repeats, realleges, and incorporates by reference the foregoing allegations

as though fully set forth in this paragraph.

       55.     On August 11, 2020, Citibank mistakenly sent payments to defendants. The

payments were intended to transfer the interim interest owed by Revlon to defendants. Instead,

Citibank transferred an amount more than 100 times greater than the interest owed by Revlon, with

the excess coming from Citibank’s own funds.

       56.     Defendants derived a benefit as a result of the mistaken payments.

       57.     Equity demands restitution by defendants to Citibank.

                                     PRAYER FOR RELIEF

       WHEREFORE, Citibank respectfully requests that this Court enter judgment in favor of

Citibank and against Defendants:

       A.      Ordering Defendants to immediately return the misappropriated $501,286,786.09;

       B.      Declaring that Citibank is rightfully entitled to the misappropriated funds;

       C.      Ordering defendants to pay Citibank interest on the funds misappropriated by
defendants for the duration that they remain with defendants;

       D.      Ordering defendants to pay damages reflecting their misconduct to Citibank;

       E.       Awarding reasonable costs and expenses incurred in this action, including
attorneys’ fees;

       F.      Awarding pre-judgment interest on all such damages, monetary or otherwise; and

       G.      Awarding further relief as the Court may deem just and proper.




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Dated: December 8, 2020


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